                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

BRAD AMOS,                                       )
                                                 )   Case No. 3:21-cv-00923
       Plaintiff,                                )
                                                 )   District Judge Richardson
V.                                               )
                                                 )   Magistrate Judge Holmes
THE LAMPO GROUP, LLC, et al,                     )
                                                 )   Jury Demand
       Defendants.                               )

                        DECLARATION OF DAVID L. RAMSEY, III

         I, David L. Ramsey, III, declare under penalty of perjury that I have no documents

 responsive to the Plaintiff's First Request for Production of Documents to Defendant Dave

 Ramsey in my personal possession, custody or control. Responsive documents, if any, would au·

 be in the possession, custody and control of The Lampo Group, LLC.




                                                     David L. Ramsey, III                     ----....::.-...________




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                                  CERTIFICATE OF SERVICE

        I certify that, on February 15, 2023, I sent the foregoing Declaration of David L. Ramsey, III

via email to:

Jonathan A. Street
Brandon Hall
Cullen Hamelin
Lauren Irwin
THE EMPLOYMENT AND CONSUMER LAW GROUP
street@eclaw.com
bhall@eclaw.com
chamelin@eclaw.com
lauren@eclaw.com

Attorneys for Plaintiff

                                                             ls/Leslie Goff Sanders
                                                             Leslie Goff Sanders (TN #18973)
                                                             Attorney for Defendants




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